
659 S.E.2d 736 (2008)
Eric NEBLETT
v.
HANOVER INSPECTION SERVICE, INC. and John Harrington Wilson.
No. 515P07.
Supreme Court of North Carolina.
March 6, 2008.
Vaiden Kendrick, Wilmington, for Eric Neblett.
*737 Andrew McVey, Wilmington, for Hanover Inspection, et al,

ORDER
Upon consideration of the petition filed on the 23rd day of October 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
